Case 2:25-cv-00334-FMO-PD       Document 20       Filed 03/17/25   Page 1 of 2 Page ID
                                      #:128


  1   CLARK HILL LLP
      Myriah Jaworski (SBN 336898)
  2   mjaworski@clarkhill.com
      Ali Bloom (SBN 347446)
  3   abloom@clarkhill.com
      One America Plaza
  4   600 West Broadway, Suite 500
      San Diego, CA 92101
  5   Telephone: (619) 557-0404
      Facsimile: (619) 557-0460
  6
    Chirag H. Patel (pro hac vice forthcoming)
  7 cpatel@clarkhill.com
    130 E. Randolph
  8 Suite 3900
    Chicago, IL 60601
  9 Telephone: (312) 985-5900
    Facsimile: (312) 985-5999
 10
      Attorneys for Defendant National Notary Association
 11

 12
                               UNITED STATES DISTRICT COURT
 13
                              CENTRAL DISTRICT OF CALIFORNIA
 14

 15

 16    TERESA TURNER, INDIVIDUALLY                    Case No. 2:25-CV-00334-FMO-PD
       AND ON BEHALF OF ALL OTHERS
 17    SIMILARLY SITUATED,
 18                                  Plaintiff,       FED. R. CIV. P. 5.1 NOTICE OF
                                                      CONSTITUTIONAL CHALLENGE
 19           v.
 20    NATIONAL NOTARY                                Judge:   Fernando M. Olguin
       ASSOCIATION,
 21
                                   Defendant.
 22

 23
             Pursuant to Fed. R. Civ. P. 5.1, National Notary Association (“NNA”),
 24
      through its undersigned attorneys, provides this notice of its constitutional challenge
 25
      of a federal statute:
 26
             1.     On March 7, 2025, the NNA filed a Fed. R. Civ. P. 12(b)(6) motion to
 27
      dismiss (“Motion”) challenging the constitutionality of the Video Privacy Protection
 28
                                                  1
 30                   FED. R. CIV. P. 5.1 NOTICE OF CONSTITUTIONAL CHALLENGE
 31

 32
Case 2:25-cv-00334-FMO-PD     Document 20      Filed 03/17/25    Page 2 of 2 Page ID
                                    #:129


  1   Act, 18 U.S.C. § 2710 (“VPPA”). [ECF No. 14]. The Motion argues that the VPPA
  2   facially and as applied violates the First Amendment and the Due Process Clause of
  3   the Fifth Amendment of the United States Constitution. Id. at 22-25.
  4         2.    On March 17, 2025, I provided notice to the United States Attorney
  5   General by mailing a copy of the Motion by U.S. Certified Mail to:
  6                      Pam Bondi, Attorney General of the United States
  7                      U.S. Department of Justice
  8                      950 Pennsylvania Avenue, NW
  9                      Washington, DC 20530-0001
 10

 11
      Dated: March 17, 2025                  CLARK HILL LLP
 12

 13                                          By: /s/ Myriah V. Jaworski
                                                     Myriah Jaworski
 14
                                             Attorneys for Defendant National Notary
 15                                          Association
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
                                                  2              CASE NO.: 2:25-CV-00334-FMO-PD
 30                   FED. R. CIV. P. 5.1 NOTICE OF CONSTITUTIONAL CHALLENGE
 31

 32
